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15                           UNITED STATES DISTRICT COURT

16                                   DISTRICT OF ARIZONA
17
      Erik Johnson, an individual,                No. CV-21-00691-PHX-DLR
18
                                     Plaintiff,
19    vs.                                         NOTICE OF SERVICE OF
20                                                DISCOVERY
      Proctorio Inc., a Delaware corporation,
21
                                Defendant.
22

23    Proctorio Inc., a Delaware corporation,

24                        Counterclaimant,
25
      vs.
26
      Erik Johnson, an individual,
27

28                       Counterdefendant.
       Case 2:21-cv-00691-DLR Document 62 Filed 02/23/22 Page 2 of 2



 1         NOTICE IS HEREBY GIVEN that attorneys for Plaintiff-Counterdefendant
 2   served via email Plaintiff-Counterdefendant Erik Johnson’s First Set of Requests for
 3   Admission, Second Set of Requests for Production, and Second Set of Interrogatories to
 4   Defendant-Counterclaimant Proctorio, Inc. on February 22, 2022.
 5

 6         DATED this 23rd day of February, 2022.
 7                                         OSBORN MALEDON, P.A.
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 9                                         By s/ Eric M. Fraser
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